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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                                        *
Shenel Nurse                            *
                         Plaintiff(s)   *
                                        *
                     vs.                *   Case No.: 1:20−cv−03093−JMC
                                        *
Monterey Financial Services, LLC        *
                         Defendant(s)   *
                                        *
                                      *****



      ORDER REGARDING REFERRAL BY CONSENT OF THE PARTIES

        The above case has been referred to the Honorable J. Mark Coulson with the
consent of the parties for all proceedings including entry of a final judgment. If you have
not already done so, within fourteen days you must file a General Consent To Proceed
Before a United States Magistrate Judge.
This form is located at
http://www.mdd.uscourts.gov/sites/mdd/files/forms/ConsentMagistrateJudge.pdf


Date: December 17, 2020                           _______________/s/_______________
                                                  The Honorable George L. Russell
                                                  United States District Judge
